                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 24-1113                                                     September Term, 2023
                                                                        DOJ-Pub. L. No. 118-50
                                                       Filed On: July 17, 2024 [2065142]
TikTok Inc. and ByteDance Ltd.,

                   Petitioners

         v.

Merrick B. Garland, in his official capacity
as Attorney General of the United States,

                   Respondent


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Consolidated with 24-1130, 24-1183

                                             ORDER

         Upon consideration of the motion of petitioner BASED Politics, Inc. for leave to
file its brief out of time instanter, and the lodged brief, it is

        ORDERED that the motion be granted. The Clerk is directed to file the lodged
petitioner’s brief.

                                            Per Curiam


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk
                                                      BY:     /s/
                                                              Michael C. McGrail
                                                              Deputy Clerk
